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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK




In re Tether and Bitfinex Crypto Asset            Case No.: 1:19-cv-09236 (KPF) (SN)
Litigation




   NOTICE OF MOTION TO DISMISS THE AMENDED CONSOLIDATED CLASS
     ACTION COMPLAINT BY DEFENDANTS IFINEX INC., DIGFINEX INC.,
   BFXNA INC., BFXWW INC., TETHER INTERNATIONAL LIMITED, TETHER
   OPERATIONS LIMITED, TETHER HOLDINGS LIMITED, TETHER LIMITED,
       LUDOVICUS JAN VAN DER VELDE, AND GIANCARLO DEVASINI
       PLEASE TAKE NOTICE that, pursuant to this Court’s Scheduling Order, dated and filed

July 7, 2020 (ECF No. 130), and upon the accompanying Memorandum of Law, and all prior

pleadings and proceedings in this case, Defendants iFinex Inc., BFXNA Inc., BFXWW Inc.,

Tether Holdings Limited, Tether Limited, DigFinex Inc., Tether Operations Limited, Tether

International Limited, Ludovicus Jan van der Velde, and Giancarlo Devasini, by and through their

undersigned counsel, respectfully move this Court before the Honorable Katherine Polk Failla, at

the United States Courthouse, 40 Foley Square, Courtroom 618, New York, New York, 10007, for

an order: (1) granting the motion, pursuant to Federal Rule of Civil Procedure 12(b)(6), to dismiss

all claims with prejudice in the Amended Consolidated Class Action Complaint, filed on

June 3, 2020 and refiled on June 5, 2020; and (2) granting such other and further relief as this

Court may deem just and proper.
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       PLEASE TAKE FURTHER NOTICE, that pursuant to this Court’s Scheduling Order

(ECF No. 130), opposition papers, if any, shall be served and filed on or before November 5, 2020

and reply papers, if any, shall be served and filed on or before December 3, 2020.



 Dated: September 3, 2020                           Respectfully Submitted,
        New York, New York


 LAW OFFICES OF MICHAEL JASON LEE,                  WALDEN MACHT & HARAN LLP
 APLC

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 International Limited, Tether Operations Limited, Tether Holdings Limited, Tether Limited,
 Ludovicus Jan van der Velde, and Giancarlo Devasini




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